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           EXHIBIT A-52
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                      DISTRICT OF COLUMBIA COURT OF APPEALS
                      BOARD ON PROFESSIONAL RESPONSIBILITY
                        HEARING COMMITTEE NUMBER TWELVE                                       FILED
In the Matter of:                                 :
                                                  :                                     Oct 4 2022 2:37pm

        JEFFREY B. CLARK                          :
                                                  :                         Board on Professional Responsibilitv
Respondent.                                       : Board Docket No. 22-BD-039
                                                  : Disciplinary Docket No. 2021-D193
A Member of the Bar of the                        :
District of Columbia Court of Appeals             :
(Bar Registration No. 455315)                     :

                                             ORDER
       Upon consideration of the parties’ statements regarding case scheduling, filed on October

3, 2022, it appears that the hearing in this matter cannot be held on the hearing dates proposed in

the September 29, 2022 Order. As such, the parties shall appear at the October 6, 2022 pre-hearing

conference prepared to discuss hearing dates in January 2023. The parties shall also be prepared

to discuss a process for resolving the discovery issues identified in Respondent’s Response to the

Order to Set Schedule. See Board Rule 3.2 (Discovery from Non-Parties); see generally Board

Rules 3.1-3.16 (Discovery and Preservation of Testimony).

        It is so Ordered.

                                      HEARING COMMITTEE NUMBER TWELVE


                                      By: _____________________________________
                                            Merril Hirsh
                                            Chair

cc:

Jeffrey Clark, Esquire
c/o Charles Burnham, Esquire
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